Case 2:25-cv-02618-MSN-atc              Document 15          Filed 07/18/25        Page 1 of 1         PageID
                                                 79


                             IN THE UNITED STATES DISTRICT COURT FOR THE
                                    WESTERN DISTRICT OF TENNESSEE
                                          WESTERN DIVISION


    Dr. Leigh M. Johnson                           )
                                                   )
          Plaintiff                                )
                                                   )               Case No. 2:25-cv-02618-MSN-atc
                                                   )
           V.                                      )
                                                   )
 Christian Brothers University                     )
                                                   )
           Defendant                               )


                                         CLERK’S ENTRY OF DEFAULT


        In conformity with Rule 55, Federal Rules of Civil Procedure, the defendant Christian Brothers

University, is hereby declared to be in default to the plaintiff, Dr. Leigh M. Johnson, for having failed to

timely respond to the Complaint filed in the Western District of the United States District Court.

Defendant has been served with a summons and complaint, but no answers or notice of appearances

have been filed as of the date of this default. For good cause shown, the court may set aside this request

for entry of default, pursuant to Rule 55(c).


        Entered this 18th day of July, 2025.

                                                            Wendy R. Oliver
                                                            Clerk of Court

                                                            By: s/ Malinda Futrell, Deputy Clerk
